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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in compliance with D.N.J. LBR 9004-1(b)

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  Counsel to MedImpact Healthcare Systems, Inc.

  In re:                                                             Case No. 23-18993 (MBK)

  RITE AID CORPORATION, et al.,                                      Chapter 11

                                               Debtors. 1            Honorable Michael B. Kaplan


                                            NOTICE OF APPEAL

           MedImpact Healthcare Systems, Inc. (the “Appellant”), by and through its undersigned

 counsel, hereby submits this notice of appeal and respectfully states as follows:




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          The last four digits of Debtor Rite Aid Corporation’s tax identification number are 4034. A complete list of
 the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/RiteAid. The location of Debtor Rite
 Aid Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is 1200
 Intrepid Avenue, 2nd Floor, Philadelphia, Pennsylvania 19112.
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 Part 1: Identify the appellants:

          1.    The name of the Appellant is MedImpact Healthcare Systems, Inc.

          2.    The Appellant appeals the Memorandum Opinion [ECF No. 3920] (the “Memorandum

 Opinion”) and the related order, if and when entered by the Court (the “Order”) insofar as each

 pertains to a ruling on the Debtors’ Motion to Enforce the Sale Order and Compel Performance

 by MedImpact Healthcare Systems, Inc. Under the MedImpact Asset Purchase Agreement

 [ECF No. 3664].

          3.    The Appellant is a party in interest in the above-captioned bankruptcy cases.

 Part 2: Identify the subject of this appeal:

          4.    This appeal is from the Memorandum Opinion issued on June 25, 2024 and the related

 Order, if and when entered by the Court. A copy of the Memorandum Opinion is attached as

 Exhibit A.

 Part 3: Identify the other parties to this appeal:

          5.    The parties to the Memorandum Opinion and the Order from which this appeal is

 taken are:


  Party:                                                COLE SCHOTZ P.C.
                                                        Michael D. Sirota, Esq.
  Debtors and Debtors in Possession                     Warren A. Usatine, Esq.
                                                        Felice R. Yudkin, Esq.
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  Dated: June 27, 2024                         /s/ Stuart M. Brown
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                                               -and-

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